 1   Daley & Heft, LLP
     Attorneys at Law
 2   Mitchell D. Dean, Esq. (SBN 128926)
     Lee H. Roistacher, Esq. (SBN 179619)
 3   Heather E. Paradis, Esq. (SBN 276650)
     Garrett A. Smee, Esq. (SBN 228055)
 4   462 Stevens Avenue, Suite 201
     Solana Beach, CA 92075
 5   Telephone: (858) 755-5666
     Facsimile: (858) 755-7870
 6   E-mail: mdean@daleyheft.com
              lroistacher@daleyheft.com
 7            hparadis@daleyheft.com
              gsmee@daleyheft.com
 8
     Attorneys for Defendants
 9   City of El Cajon and Richard Gonsalves
10                      UNITED STATES DISTRICT COURT
11                   SOUTHERN DISTRICT OF CALIFORNIA
12   RICHARD OLANGO ABUKA, an                 Case No.: 3:17-cv-00089-BAS-NLS
     individual,                                        consolidated with Case No:
13                                                      3:17-cv-00347-BAS-NLS)
                  Plaintiff,
14                                            NOTICE OF MOTION AND
           v.                                 MOTION FOR SUMMARY
15                                            JUDGMENT BY DEFENDANTS
     CITY OF EL CAJON, RICHARD                CITY OF EL CAJON AND
16   GONSALVES and DOES 1-10,                 RICHARD GONSALVES;
     Inclusive,                               MEMORANDUM OF POINTS AND
17                                            AUTHORITIES; DECLARATIONS
                  Defendants.                 OF RICHARD GONSALVES,
18                                            NORMA CABANA, RICHARD
                                              SUTHERLAND, STEVEN
19   AND ALL RELATED ACTIONS.                 MCDANIEL AND GARRETT A.
                                              SMEE; NOTICE OF LODGMENT
20                                            OF EXHIBITS IN SUPPORT
                                              THEREOF
21
                                              Date: November 5, 2018
22
                                              NO ORAL ARGUMENT UNLESS
23                                            REQUESTED BY COURT
24                                            Courtroom: 4B
                                              Judge:     Hon. Cynthia Bashant
25

26         TO: ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
27         PLEASE TAKE NOTICE that on November 5, 2018, in Courtroom 4B of
28   the above-identified Court, Defendants City of El Cajon and Richard Gonsalves
                                            1
                                                  3:17-cv-0089-BAS-NLS (consolidated with
                                                  Case No. 3:17-cv-00347-BAS-NLS)
 1   will move, and hereby do move, for an order granting summary judgment or partial
 2   summary judgment in their favor and against Plaintiffs Richard Olango Abuka and
 3   Taina Rozier, individually and as successor in interest to Alfred Okwera Olango
 4   deceased; C.O., a minor, individually and as Successor in Interest to Alfred
 5   Okwera Olango, deceased, by and through her Guardian Ad Litem, Taina Rozier;
 6   and H.C., a minor, individually and as Successor in Interest to Alfred Okwera
 7   Olango, deceased, by and through her Guardian Ad Litem, Celanese Small.
 8         This motion is based on this notice and motion, the accompanying
 9   memorandum of points and authorities, the attached notice of lodgment, the
10   attached proposed order, the attached declarations of Richard Gonsalves, Steven
11   McDaniel, Norma Cabana, Richard Sutherland and Garrett A. Smee, the
12   pleadings and papers on file in this matter, the arguments and representations of
13   counsel at the hearing and upon all other matters upon which the Court must take
14   judicial notice.
15

16    Dated: October 1, 2018                  Daley & Heft, LLP
17

18                                           By: /s/ Lee H. Roistacher
                                                   Mitchell D. Dean
19                                                 Lee H. Roistacher
                                                   Heather E. Paradis
20                                                 Garrett A. Smee
                                                   Attorneys for Defendants
21                                                 City of El Cajon and Richard
                                                   Gonsalves
22
                                              E-mail: mdean@daleyheft.com
23                                                    lroistacher@daleyheft.com
                                                      hparadis@daleyheft.com
24                                                    gsmee@daleyheft.com
25

26
27

28
                                              2
                                                    3:17-cv-0089-BAS-NLS (consolidated with
                                                    Case No. 3:17-cv-00347-BAS-NLS)
